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                               TJNITE]D STATES BANKRU   Y COUR:|
                                 NORTHERN DISTRICT OF I INOIS
                                       ITASTERN DTVISIO


In re:                                                      Case


FARAJI ENTERPRISE, LLC.,                                    Cha


Debtor                                                      Judge

                                  DT]BTOR'S MOTION FOR                  TRY
                               OF AN INTEREM ORDER A                     RIZING
                        EOF                  LLA                              S./t\/


            NOW COMES the debtor. FARA.II ENTIIRPRI                    LLC., (the "Debtor")   and Debtor


in Possession by and through its Attorney William E. Jami               Jr. and rloves this court pursuant

                               to authorize the use 'cf the cash col    'al of CIII.ITRAL SA.VINGS
to   1   1 U.S.C.$361 1, 363


F.S.B. and in supporl thereof respectfully represents as fbl

            l.     Debtor commenced a voluntary Chapter          11              crse by filing a voluntarY

petition for relief under Chapter I 1 of title 1 I of the United tates Code, 1l U.S.C. $101
                                                                                            et seq.


(the "Code") on Decembet 29,2022. in the tJnited States                rkruptcy Court for the Norttrern

District of Illinois. Eastern Division (the "Court")'

            2.      The Court has jurisdiction of this matter              to 28 L .S.C. $1334. Ve,nue is

                                                                       ,ceeding pursuant to 2!8 U.S.C. 157
proper pursuant to 28 U.S'C. $1409. This matter is a core

 (b)(A) and (M).

             3.     Debtor is a debtor in possession with the ri       to operate its business and manage


 its financial affairs, pursuant to sections 1107 and 1108 of           Code. No trustee or creditors

 committee has been appointed in this case'
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       4.        Debtor is engaged in the business of owning and managing a l5 Unit building

located at 469-473 Hirsch Avenue, Calumet City,      IL   60419. (the" Hirsch Propertl,").

       5.        The Debtor, through its beneficial interest in the Hirsch God Trust Algreement

dated January 24,2011, and known as Trust No. 469, has an exclusive or,vnership interest in the

Hirsch Property. Pursuant to a Mortgage with Central Savings, F.S.B. daled Januetry 24,2017,

and an Assignment of Rents both of which are held by Central Savings FSB. The m,crtgaS,e

amount in the amount is currently $370,975.03.

       6.        The most recent appraisal of the property dated Decembrlr 2016list the market

value fair market value of the property at $525,000.00 resulting in an ecluity cushion in excess o[

$100,000.00. See Exh A.

       7.        The Debtor through its benefioial interest it the Trust Agrt:ement also has a.n

exclusive possessory and ownership interest in the Hirsch Property.

       8.        On June 21,2022, Central Savings, FSB filed B cornrler,cial foreclosure against

the Debtor in the Circuit Court of Cook County, Chancery Division, captioned Central Savings

v. Faraji Enterprise, LLC et al,   Case No. 2022-CH-05931 (the "Foreclosttre Case").

       g.        Sometime in2022,the debtor began to experience financial difficulti.es due to

extended vacancies and delinquent rental pay'ments.

        10.      The failure of the tenants to pay rent coupled with the vacancies resu.lted in the

debtor's inability to make timely mortgage payments.

        1   1.   The debtor is collecting rents generated by the Hirsch property. Pursuant to I 1

LI.S.C. $ 363 (a), the rents and other income generated by the Hirsch property is cash collateral

in which Central Savings, F.S.B. ("FSB") has an interest.
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       12.      Debtor has an immediate need for the cash c,ollateral o[ tC:ntral Savings, F. .B to

operate the Hirsch Property. Debtor also needs to use the cash collateral ,rf Central lSavi                  FSB

to linance its Chapter 11 Reorganization.

       13.     Debtor will use the cash collateral to make expenditures set forth on     1.he   B

which is attached to the motion as (Exhibit B).

       14.     Debtor is unable to obtain unsecured credit allowable onlly under $503(b)            (   1




the Code as an administrative expense to permit Debtor to operate the Hlirsch Property.

also unable to incur debt or obtain credit to operate the Hirsch Property.

       15.     If the Court does not authorize the Debtor to use the rental income which is

Cerrtral Savings FSB's cash collateral to operate the Hirsch Property, Debtor will be u                     pay


the expenses of the Hirsch Property. The going concern value of the Debtor's business                       the


value of the Property will be greatly diminished if debtor cannot provide services to the

at the Hirsch Property and maintain the property.

        16.    The code provides that the Debtor may use Clentral Savirrgs cash collateral

Cerrtral Savings FSB consents or if the Court authorizes the Debtor's use of the castr col

l1 U.S.C. 9363(a). Debtor is also required to establish that the interest of Central Savings

is adequately protected. The adequate protection that Central Savings FSB receives is

assure that the value   ofthe secured creditor's interest in the collateral does not decline.

        17.    The Debtor may provide Central Savings FSB with adequlte protection for

Debtor's use of Central Savings FSB's cash collateral in several ways. A. debtor       rnary


aclequate protection in the form of periodic payments, replacements      lierrs A debtor may                nvest

the cash in the operation and maintenance of the debtor's pr:operty to increase the value       of          he
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cre(litors interest in the collateral. A Debtor may also demonstrate that the amount c,f cash on

hanLd   will not diminish   as the cash   collateral is used. l1 U.S.C. S361,

          18.     In order to provide Central Savings FSB adequate protection pursuant to            1I


U.S.C.$361, the Debtor has agreed to:

          (A)   grant FSB replacement liens on the Property and the proceeds of the Property and

the proceeds of the Property to the same extent and with the same         prioritl'   as its prepetition liens


on the Property and the proceeds of the Property;

          (B) limit its expenditures to the disbursements listed     on the budget attached to this


Motion as Exhibit B.

           (C) Enter into the Interim Order Authorizing the Debtor to Use Crmh Collateral which

                                                                                       (See Exhibit C.,)
will    be substantially in the form of the Order which is attached to this N{otion as

           19.     The Debtor's use of the cash collateral in which Central Savings FSEi asserts an

interest will protect and preserve the Hirsch Property, and maintain the rerntal incorne produced

by the Hirsch Property. The Debtor is able to adequately protect the in1.e:est of FSE|.

           20.     It is the best interest of Central Savings FSB, the Debtor and the Chapter l1          esta1e


                                                                                             to
for the Court to authorize the Debtor to use the cash collateral of Central Savings FIIB and

enrler the   Interim Order Authorizing The Debtor to Use Cash Collateral vrhich is attached to this

Motion as Exhibit C.

           21.     Debtor requests that the Court conduct a preliminary he:rring pursuant to

Bamkruptcy Rule 4001(bX2), enter the Interim Order Authorizing The lD:btor to
                                                                              Use Cash

                                                                                       the I)ebtor's
Clollateral which is attached to this Motion as Exhibit B. and Set a final trearing on

use of cash collateral.
                                                                                                          i
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        WHEREFORE, Ada L. Brown, debtor and debtor in possession herein,               pra;,'s that


couLrt, enter   the order authorizingits use of cash collateral and fbr any other relief the

deems   just and proper.

                                                          Faraji Ilnterprise, LLC.
                                                          By lslWilliam E. Jarnison, Jr.
                                                          Its Attorney
                                                          William E. Jamison, Jr.
                                                          53 W. Jackson Blvd
                                                          Suite 801
                                                          Chicago.IL 60604
                                                          312-226-8s00
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EXPENSES        -vs- INCOME BUDGET FOR 469-473 Hirsch Calumet City, lL 60409

Expenses      for Units     Monthly       Monthly Rent       G   ross
                            Expenses      Collected          Monthly
                                                             Receipts

Rental MTG                 S6,9o8.oo      469/TenarrtlD*8    se34.0o      H. Dixon

L;awn/Snow                 521s.4s        469/Tenant2D*8     s77s.oo      C. Hines

l   nsura nce/escrow       Ssrs.zs        469/Tenarrt 3D     s82s.oo      G. Tal,lor

Rental/Maintena nce        s2s0.00        469/TenantlE*8     SL,o:t0.00   S. Mcrlay

Rental Electricity         s101.2s        469/Tenant 2   E   s87s.oo      W. Barnes

Rental Gas                 51,,276.0a     469/Tenant   3E    s87s.00      T. Cagler

lVlanagement Fee           S1,2oo.oo      471lTenant 1C*8    Ssog.oo      D. Sinron

'Tr3Itdltt
             lCWater       s363.00        47L/Tenarft2C      Ssss.oo      N. Townsend


Sr:avenger Waste/          S2ss.oo        471/Tenant 3C*8    S1,ooo.oo    L. Carrie

Removal



                                          47'|./Tenant28     s1,ooo.oo    K. Davis

                                          471/Tenant 3B      S88s.oo      G. Tinsley


Tctal Net lncome           s   1,943.35   473/Tenant 1A      s77s.00      S. Askew


                           s1,943.35      473lf enant2A      Ssss.oo

                                          473lTenant 34      s82s.oo      T. Blar:k

                                          473/Tenant   1B    s88s.oo

TOTAL                      s11,083.00                        s13,313.00

Net lncome                                                   s2,23o.oo




                                                                                                       I
